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                                     UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEW JERSEY




     United States of America
                                                            Criminal Action
                                                            208-cr-327 SDW)
             Plaintiff

    V

                                                           ORDER RE
    Andrew Merola
                                                           BAIL CONDITIONS

             Defendant      -




             The    Court       having    considered      the   respective       positions       of
    counsel        and    the    United    States    Attorneys       Office      and    Pretrial
    Services       having       consented    to    this   request    and     for     good     cause
    shown

            It   is on this ,Jday of January
                                             2010

         ORDERED AND ADJIJDGED as o1iows
                                         :

        I.       Andrew    Merola    may    attend    sporting      events      in    which    his
   children are           participating     both     within and     out    of   the    District
   ci New Jersey subject to schedu
                                   les set by Pretrial Services.
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                                                      -
                                                                        —-   - -   -




                                           Hbnorab1e Stanley a.
                                                                 Chesler
                                            United States District
                                                                   Court
                                            Judge
         We hereby consent to
                              the entry of this Order
                                                     .

        Saivatore T. Alfano
        Attorney for Andrew t4e
                                rola


        Ronald W;gler
        Assistant United
        States At rney


         i Ii m Sobchik
        United States
        Pretrial Services




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                    other   conditions   of       Mr.   )4erola’s   pretrial   release
         2,   All

       remain intact.




                                         Honorable Stanley R. Chesler
                                         United States District court
                                         Judge

       We hereby consent to the entry of this Order.

         w -r
       Salvatore 7. Alt aijo
       Attorney for Andrew Nerola

        %J-,    I
       Assistant United
       States Attorney


       William SobchiAc
       unitc4 States
       Pretrial Sárvicea




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